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          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK
          --------------------------------------------------X
          UNITED STATES OF AMERICA,
                                                                        12 CV 626 (SJ)

                           v.
                                                                        MEMORANDUM
                                                                        AND ORDER
          ALEXANDER FISHENKO, et al.,

                                     Defendants.
          -------------------------------------------------X
          APPEARANCES

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          JOHNSON, Senior District Judge,


                                            BACKGROUND

                 On September 28, 2012, eleven individual defendants and two corporate

          defendants in this action were charged in a twenty-five count indictment with, inter

          alia, conspiracy to illegally export controlled microelectronics from the United States

          to Russia, money laundering, and conspiracy to commit wire fraud between October

          2008 and September 2012.

                 At a hearing on October 10, 2014, Counsel for the two incarcerated

          Defendants, Alexander Fishenko and Alexander Posobilov, notified the Court of

          difficulties ensuring the incarcerated criminal Defendants meaningful access to the

          classified discovery documents. On October 10, 2014, Counsel for Defendant

          Fishenko submitted a letter to the Court noting that relevant Defense Counsel met

          with the Government, the United States Department of Justice’s Litigation Security

          Group, and the United States Marshals Service “to consider alternative strategies for

          providing efficient access to classified documents to Messrs. Fishenko and

          Posobilov.” (See Defs.’ Letter dated Oct. 10, 2014 (Dkt. No. 261) at 1.) In the letter,

          Defense Counsel noted that the U.S. Marshals would not permit a Defendant to

          access a classified computer with anyone else present in a room. Parties also

          discussed the possibility of bringing the defendants to secure proffer rooms in the

          United States Attorney’s Office while FBI agents monitored the Defendants.




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          However, the Government indicated that it would not be able to provide agents for

          more than two or three sessions.

                 The Court has considered a number of alternatives including, but not limited

          to, providing access to isolation cells and attorney-client interview rooms within the

          Eastern District of New York Courthouse in which an attorney or paralegal, with the

          appropriate security clearances, would facilitate the Defendants’ review of the

          classified documents via computer with a separate screen facing the Defendants.

          Defense Counsel has argued that this proposal would be exacting and time

          consuming for counsel and paralegals. The Court also considered providing the

          Defendants with access to the documents within the courtroom. However, the U.S.

          Marshals have indicated that, given security concerns, as many as four U.S. Marshals

          would need to be present at a time, and a security sweep of the entire courtroom

          would need to occur for each use. Finally, Defense Counsel further requested that the

          Government declassify the classified information, but the Government has indicated

          that declassification is currently not an option.

                 Without a suitable agreement, Counsel requested the Court’s intervention.



                                               DISCUSSION

                 The issue before this Court is how to ensure the constitutional rights of

          criminal Defendants’ vis-à-vis both (1) national security concerns attendant to the

          classified material in this case; and (2) physical security concerns attendant to their

          status as pretrial detainees. The Supreme Court has held that “[t]he right of an
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          accused in a criminal trial to due process is, in essence, the right to a fair opportunity

          to defend against the State’s accusations.” Chambers v. Mississippi, 410 U.S. 284,

          294 (1973). Founded in the Sixth Amendment’s Compulsory Process and

          Confrontation Clauses, a criminal defendant has a right to “a meaningful opportunity

          to present a complete defense.” Hawkins v. Costello, 460 F.3d 238, 243 (2d Cir.

          2006) (quoting Crane v. Kentucky, 476 U.S. 683, 690 (1986)).                   Thus, the

          Defendants’ constitutional rights to assist in their own defense must not be abridged.

                  However, the Court must also consider the legitimate national security and

          physical security concerns, as well as the common interest in proceeding to trial in a

          timely manner, while ensuring the rights of the accused Defendants are protected.

          This balance is recognized in relevant law. Discovery in criminal cases is governed

          by Rule 16(d)(1), which provides in pertinent part, that “[a]t any time the court may,

          for good cause, deny, restrict, or defer discovery or inspection, or grant other

          appropriate relief. . . .”

                  In addition, the Classified Information Procedures Act (“CIPA”), 18 U.S.C.

          app. 3, establishes procedures for handling classified information in criminal cases.

          The statute was meant to “protect and restrict the discovery of classified information

          in a way that does not impair the defendant's right to a fair trial.” United States v.

          Aref, 533 F.3d 72, 78 (2d Cir. 2008) (internal quotation marks and citations omitted).

          The Act “clarifies a district courts’ power under Federal Rule of Criminal Procedure

          16(d)(1) to issue protective orders denying or restricting discovery for good cause,


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          which includes information vital to the national security.” Aref, 533 F.3d at 78

          (internal quotation mark omitted).

                 In this case, although certain discoverable material has been deemed

          classified pursuant to CIPA, the Court recognizes that the Defendants retain

          constitutional rights to participate in their own defense. Thus, this Court must ensure

          the Defendants’ constitutional rights while taking into consideration the

          Government’s legitimate concerns with respect to national security and the need for

          efficiency in administering this litigation. The Second Circuit recently held that “the

          Sixth Amendment does not create an absolute right to the elimination of all

          difficulties or impairments that may hinder a criminal defendant's capacity to

          perfectly comprehend, and participate in, court proceedings.”           United States v.

          Crandall, 748 F.3d 476, 481 (2d Cir. 2014) (with respect to a hearing-impaired

          Defendant). The Circuit added that “perfect participation by a criminal defendant is

          optimal, but perfection is not required by the Sixth Amendment. Id. (citing

          McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548, 553 (1984) (noting

          that the Supreme Court “has long held that a litigant is entitled to a fair trial but not a

          perfect one, for there are no perfect trials” (internal quotation marks and alteration

          omitted)).

                 The Court heard from all parties on this matter including Defense Counsel,

          the Government, the United States Marshals Service, as well as the United States

          Department of Justice, Litigation Security Group. In addition, the Court physically

          examined all available options including the isolation cells and the attorney-client
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          interview rooms, with the technology in place. Throughout, the Court pursued its

          inquiry into how to ensure the Defendants were provided with the best available

          option to preserve their rights given the legitimate concerns of the Government and

          the Marshals Service and the constraints these concerns entail.

                  Based on these conversations, the Court’s inspections, the relevant law

          related to classified material, and consideration of the constitution rights of the

          Defendants to assist in their own defense, the Court has fashioned an appropriate

          solution. Defendants shall have unlimited access to the classified documents within

          the parameters of relevant security constraints. In order to view the materials, the

          Defendants will be produced to the inmate isolation cells of the Eastern District of

          New York. The isolation cells are equipped with bars rather than the mesh wires

          found in the attorney-client interview rooms. The Court finds that the mesh wires are

          not an adequate option because the mesh obstructs the Defendant’s view of the

          documents.1

                  Within the isolation cells, Defendants will not have direct access to the

          computers, per the legitimate security concerns of the U.S. Marshals.2 However, a

          paralegal or counsel with appropriate security clearance can manipulate and control



          1
           See Exhibit A (photograph of attorney-client interview room in the E.D.N.Y.) (under seal and on file
          with the Court).
          2
           In May of 2014, two U.S. Marshals were allegedly attacked in a secure location in Miami, Florida
          where Defendants were examining classified evidence. As a result, the Court takes note of the
          abundance of caution necessary to proceed while preserving the Defendants’ rights. Curt Anderson,
          Assault Charges Likely in Florida Terror Case, A.P. News, May 9, 2014, available at
          http://bigstory.ap.org/article/assault-charges-likely-florida-terror-case.

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          the computers through a laptop. The Defendants will view the materials on a 20-inch

          screen placed immediately outside the isolation cell.3 The screen is large enough so

          that the Defendants can increase or decrease the text size of each document. The

          Defendant will have plain view of the documents through a sizable space between

          each bar.4 The Court finds that such a remedy is the proper balance of all parties’

          concerns, national security, and the security of staff while also protecting the

          Defendant’s right to assist in his own defense.



                                                      CONCLUSION

                     For the foregoing reasons, the Court finds that the Defendants can review the

          confidential materials using the isolation rooms located in the Eastern District of

          New York with the above mentioned restrictions and limitations.



                        SO ORDERED.
          Dated:        November 3, 2014                         ___________/s/_________________
                        Brooklyn, New York                          Sterling Johnson, Jr., U.S.D.J.




          3
           See Exhibit B (view of computer screen outside of isolation cell) (under seal and on file with the
          Court).
          4
              Compare Exhibit A (wire mesh) with Exhibit B (bars).
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